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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


UNITED STATES OF AMERICA,              :
                                       :
      v.                               :       CRIMINAL INDICTMENT
                                       :       NO. 1:15-CR-284-AT-JKL-5
DAYNA JOY LIVERMAN                     :
Defendant.                             :
                                       :

                                   ORDER

      Magistrate Judge John Larkins’ Final Report and Recommendation

(“R&R”)[Doc. 345] is currently before the Court. The R&R recommends the

denial of Defendant’s Motion to Suppress Statements [Doc. 300]. The Defendant

has filed objections to the Magistrate Judge’s R&R that challenge the Magistrate

Judge’s mixed factual and legal findings that 1) there was a lawful stop of Ms.

Liverman and 2) that Ms. Liverman’s statements were not given in response to

interrogation [Doc. 349].

      A district judge has broad discretion to accept, reject, or modify a

magistrate judge’s proposed findings and recommendations. United States v.

Raddatz, 447 U.S. 667, 680 (1980). Pursuant to 28 U.S.C. § 636(b)(1), the Court

reviews any portion of the R&R that is the subject of a proper objection on a de

novo basis and any non-objected portion on a “clearly erroneous” standard.

Accordingly, the Court has reviewed the Defendant’s motion on a de novo basis as
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Defendant’s objections go to the essence of the Magistrate Judge’s evidentiary

and legal analysis.

   A. The traffic stop

      Defendant was arrested on July 29, 2016 by the Southfield Police

Department in Southfield, Michigan after a traffic stop. (Doc. 336, Ev. Hearing at

4-5.) The Southfield police allegedly conducted this traffic stop pursuant to an

outstanding federal arrest warrant out of Atlanta, which local FBI had informed

them of prior to the stop. (Id. at 11, 19.) Defendant argues that the government

has failed to “establish that the initial stop of the vehicle and arrest of Ms.

Liverman were lawful.” (Doc. 349) (citing United States v. Harris, 928 F.2d 1113,

1116 (11th Cir. 1991), “in order for the initial stop to be constitutionally firm, there

must have been at least reasonable suspicion of criminal conduct.”) Defendant

argues that there is no evidence that the stopping officer was aware of the Atlanta

warrant before he stopped her, and thus her statements, as “fruits” of the stop,

should be excluded. Segura v. United States, 1468 U.S. 796, 804 (1984).

      Agent Nevala’s testimony at the evidentiary hearing indicates that the FBI

in Detroit forwarded information of Ms. Liverman’s outstanding warrant to the

local Southfield Police Department prior to the stop and arrest. (Doc. 336 at 11,

19). Defendant argues that this testimony from the evidentiary hearing is not

enough; that is, that the government needs to produce the arresting Southfield

officer to establish that the basis for the stop was the arrest warrant out of Atlanta




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or evidence amounting to reasonable suspicion or probable cause to stop. (Doc.

349 at 2-3.)

       In addition to accepting Agent Nevala’s testimony as credible evidence that

Southfield had been made aware of the Atlanta warrant prior to the stop, the

Magistrate Judge found that the statements were admissible even if the

Southfield officer had not known of the Atlanta warrant before the stop. (Doc.

345 at 5.) He found that, because the Southfield officers were aware of the

warrant at some point during the stop1, the attenuation doctrine applies. See

Utah v. Strieff, 136 S.Ct. 2056, 2064 (2016).2

       The attenuation doctrine discussed in Strieff treats otherwise inadmissible

evidence as admissible when the connection between the unconstitutional police

conduct and the evidence is remote or has been interrupted by some intervening

circumstance. Id. at 2061. The Supreme Court discusses three factors that guide

an attenuation doctrine analysis: 1) the temporal proximity between

unconstitutional conduct and discovery of evidence; 2) the presence of

intervening circumstances; and 3) the purpose and flagrancy of official

misconduct. Id. at 2062 (citing Brown v. Illinois, 422 U.S. 590 (1975)). In Strieff,

the defendant was stopped after leaving a suspected drug house, and then

arrested after the officer learned of an outstanding traffic warrant. Strieff, 136 S.

1 During the traffic stop, Southfield police informed Ms. Liverman that they had a warrant for

her arrest out of Atlanta. (Doc. 336 at 26.)
2 The Magistrate Judge notes in the R&R that Strieff stands for the proposition that “an officer’s

discovery of outstanding arrest warrant rendered otherwise unconstitutional stop lawful.”
However, Strieff does not allow for the transformation of an unlawful stop into a lawful one;
rather it allows the admission of evidence obtained illegally despite its unlawful acquisition.


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Ct. at 2060. The officer then searched Strieff incident to the arrest, and found

drugs. Id. In analyzing the situation under the factors established in Brown, the

Supreme Court found that, even though the temporal proximity factor weighed in

favor of suppression, the intervening circumstance of the valid warrant and the

lack of flagrant misconduct outweighed temporal concerns. Id. at 2057.

       Defendant Liverman seeks to distinguish the facts of her case based on an

analysis of the third factor, arguing that the government has failed to show that

the Southfield officers’ stop was not the result of purposeful or flagrant

misconduct. (Doc. 349 at 3-4.)

       Here, there is nothing in the record to suggest that the Southfield officers’

behavior constituted misconduct, let alone flagrant misconduct. “For a violation

to be flagrant, more severe police misconduct is required than the mere absence

of proper cause for the seizure.” Id. at 2064 (citing Kaupp v. Texas, 538 U.S. 626,

628 (2003)).3 In addition, the first two factors of the attenuation analysis, the

temporal proximity and the intervening circumstances, weigh in favor of

admissibility. Ms. Liverman’s statements were given at least an hour, very

possibly more, after the stop4. (Doc. 336 at 16.) The warrant “discovery,” the

arrest, the temporary detention at Southfield police department, and the transfer

3 In evaluating the officer’s conduct, the dissent in Streiff acknowledged differences between

foot stops and traffic stops, stating that “we allow such [warrant] checks during legal traffic
stops because the legitimacy of a person’s driver’s license has a ‘close connection to roadway
safety.’” Id. at 2067 (citing Rodriguez v. United States, 135 S.Ct. 1609, 1616 (2015)).
4 Defendant was pulled over around 9:30 a.m. (Doc. 336 at 16.) She was then arrested and taken

to the Southfield Civic Center. (Doc. 336 at 28.) Agents Nevala and Pennisi drove 30-40 minutes
from Detroit to Southfield after being informed of the arrest. (Doc. 336 at 16.) The Agents then
had to wait at least 5-10 more minutes after arriving at Southfield before custody of Ms.
Liverman was transferred. (Doc. 336 at 18.)


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of custody constitute sufficient intervening circumstances under Strieff. (Doc.

336 at 16, 18, 28.)

      The record before the Court suggests that the Southfield officers arrested

Ms. Liverman with knowledge of the Atlanta warrant. (Doc. 336 at 11, 19.) Thus,

the Court agrees with the interpretation and analysis of the Magistrate Judge in

finding that the arrest was conducted pursuant to the Atlanta warrant; and

arguendo, if not, the evidence is still admissible under the “attenuation doctrine”

detailed in Strieff.

   B. Statements made to, and in front of, Agents Nevala and Pennisi

      On the afternoon of July 29, 2016, FBI Agents Zane Nevala and Chris

Pennisi transported Ms. Liverman from the Southfield police station to the

Federal Courthouse in Detroit. (Doc. 336 at 3-5.) At various points before and

during this transportation, Defendant made incriminating statements to the

agents. (Id. at 6, 14.) Defendant also made statements in a phone call to her

father while in en route to the Federal Courthouse, using a cell phone belonging

to one of the agents. (Doc. 336 at 16-17.) These statements to her father were

overheard by Agent Nevala. (Id.) Ms. Liverman argues that all statements should

be suppressed because she was in custody, was subject to interrogation, and had

not been afforded Miranda warnings. (Doc 300 at 2, citing Endress v. Drugger,

880 F.2d 1244, 1248 (11th Cir. 1988), “It is well-settled that Miranda warnings

are required before the government may offer a statement into evidence that was

elicited through interrogation from someone in custody.”)


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       The government does not seem to dispute that Ms. Liverman was in

custody or that she had not been afforded her Miranda warnings. The dispute

concerns whether or not Ms. Liverman’s statements were given in response to an

“interrogation” by Agent Nevala.

       The Supreme Court has defined “interrogation” as both express

questioning and “any words or actions on the part of the police, other than those

normally attendant upon arrest and custody, that the police should know are

reasonably likely to elicit an incriminating response from the suspect.” Rhode

Island v. Innis, 446 U.S. 291, 292 (1980). The latter portion of this definition

should focus on the perceptions of the suspect rather than the intent of the police.

Id. Voluntary statements, however, are admissible if not made in response to

interrogation. Cannady v. Dugger, 931 F.2d 752, 754 (11th Cir. 1991).

       Here, there is a factual dispute regarding the nature of the conversations

between Defendant and Agent Nevala both while waiting for Agent Pennisi to

bring the car and during the drive to the Courthouse. Ms. Liverman asserts that

Agent Nevala first asked her “if she knew what this [arrest] was about?” while

waiting for the car, and then continued to ask “You don’t know what this is

about?” several times5 after they were in the car (Doc. 336 at 23, 24.) Defendant




5 It is unclear how many times Agent Nevala allegedly questioned Defendant. Liverman testified

that he asked “four to five times” but also offered that he asked “anywhere from two to four
times” and that “he asked me two to five times.” (Doc. 336 at 23-24, 27.)


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claims that these inquiries deliberately elicited an incriminating response.” (Doc.

349 at 6.)6

        Agent Nevala, on the other hand, claims he never asked Ms. Liverman any

questions, and that any statements were given voluntarily and spontaneously.

(Doc. 336 at 6, 15-16.) Agent Nevala testified that he told Ms. Liverman that he

did not know anything about her case but that agents in Atlanta would probably

be willing to talk to her. (Doc. 336 at 16.) The government further argues that

even if Agent Nevala had asked the alleged questions of Ms. Liverman, they were

not designed to deliberately elicit incriminating responses and were “simply part

of ordinary police procedure.” (Doc. 339 at 6, citing Pennslyvania v. Muniza, 496

U.S. 582, 603 (1990).) There does not seem to be a factual dispute about the

statements made in Defendant’s phone call to her father, overheard by Agent

Nevala.

       The Magistrate Judge first found that Defendant’s statements to her father

on the phone were not suppressible because there was no evidence they were

elicited through questioning or the functional equivalent of questioning. (Doc.

345 at 8.) The Court fully agrees with that analysis. The Magistrate Judge further

concluded that the additional statements were not suppressible because Agent

Nevala was credible in his account in which he stated that he had not asked

Defendant any questions. Thus, the statements were not made in response to

6 Defendant cites Brewer v. Williams in support, yet that case involved a detective making a

lengthy “Christian burial speech” intended to exploit Williams’ faith and coerce him into offering
incriminating information. 430 U.S. 387 (1977). There is no comparable tactic alleged in this
case.


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express questioning or its functional equivalent. (Doc. 345 at 8-9.) In addition,

the Magistrate Judge found Ms. Liverman’s account less credible because of her

self-admitted “state of shock” during the time the statements were given. (Id. at

9.) Liverman’s phone call to her father, in which she stated that she was going to

“straighten things out or clear things up,” further supported Agent Nevala’s

contention that she was providing unsolicited statements. (Id.)

       In review, the Court finds that the Magistrate Judge carefully considered

the issues of credibility involved in determining that Ms. Liverman was not

subject to interrogation.7 Having reviewed the Magistrate Judge’s reasoning, the

Court agrees with his recommendation to deny Defendant’s Motion to Suppress.

U.S. v. Cofield, 272 F.3d 1303, 1306 (11th Cir. 2001) (finding that district judge is

not required to rehear witness testimony when accepting magistrate’s credibility

findings but that district judge generally cannot reject a magistrate judge’s

credibility determination without rehearing the disputed testimony) (citing

Raddatz, 447 U.S. at 681 n. 7).

       That said, the Court is not convinced that had Agent Nevala repeatedly

asked Liverman if she knew “what the warrant was about,” that the statements

would still be admissible. Contrary to what the government argues, such

questions, asked repeatedly, could be intended to elicit an incriminating

response. Innis, 446 U.S. at 292. See also Muniza, 496 U.S. at 583 (Responses to


7 Defendant’s argument with respect to Agent Nevala’s lack of a timely report memorializing the

events of July 29, 2016 are noted. Though more thorough reporting is preferred, the delay here
does not seriously dilute Agent Nevala’s credibility.


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questions that, if asked of a sworn suspect during a criminal trial, could place

suspect in the “cruel trilemma” of self-accusation, perjury, or contempt are

testimonial, whenever a suspect is asked for a response requiring him to

communicate an express or implied assertion of fact or belief).

      As the Court’s conclusion hinges, in part, on the credibility of the testimony

of the individuals involved, the Defendant may revisit this issue at any time

through the end of trial. Accordingly, the Court ADOPTS the Magistrate Judge’s

R&R [Doc. 345], and DENIES Defendant’s Motion to Suppress Statements [Doc.

300], subject to the qualifications noted herein.

      IT IS SO ORDERED this 8th day of June, 2018.



                                      __________________________________
                                      Amy Totenberg
                                      United States District Judge




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